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 EXHIBIT 14
                            Case 2:20-cv-00983-TSZ Document 75-14 Filed 02/07/22 Page 2 of 8
                                                              JILL CRONAUER
                                                                9/30/2021


                                                                                                          Page 1
                                                 UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                              AT SEATTLE
                     ___________________________________________________________
                     HUNTERS CAPITAL, LLC, et al.,  )
                                                    )
                                    Plaintiffs,     )
                                                    )
                                vs.                 ) No. 20-cv-00983-TSZ
                                                    )
                     CITY OF SEATTLE,               )
                                                    )
                                    Defendant.      )
                     ___________________________________________________________

                                             Videotaped ZOOM 30(b)6 Deposition
                                                                   Of
                                           JILL CRONAUER
                     ___________________________________________________________




                                               CONTENTS DESIGNATED CONFIDENTIAL




                     DATE:         Thursday, September 30, 2021
                     REPORTED BY:                Mindy L. Suurs, CSR No. 2195

                                                          ROUGH & ASSOCIATES INC
         office@roughandassociates.com                         206.682.1427 3515 SW Alaska St Seattle WA 98126


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                                                                JILL CRONAUER
                                                                  9/30/2021


                                                                                                         Page 89
             1       Capital claims in this lawsuit with regard to its own
             2       damages?
             3                 A.        Total cost here on L 151, which is 7.789423 and
             4       88 cents.
             5                 Q.        Could you repeat the line number, please?
             6                 A.        L 151.
             7                 Q.        Okay.            And the total amount claimed is 3.787; is
             8       that correct?
             9                 A.        That's correct.
           10                  Q.        Okay.
           11                            MR. REILLY-BATES:             And that's millions; right?
           12                  A.        Yes.
           13                            MR. FARMER:            That's what it appears to be.
           14                  Q.        Ms. Cronauer, does Hunters Capital have an
           15        agreement with any entities of how it would distribute any
           16        of the 3.7 million or so if it were to recover that amount
           17        in this lawsuit?
           18                  A.        Not to my knowledge.
           19                  Q.        Okay.            So starting with some more general buckets
           20        here, is it correct that Hunters Capital claims a total of
           21        $26,470 in fiscal damages?
           22                            MR. REILLY-BATES:             Counsel, is there a line that
           23        you want to refer us to?
           24                            MR. FARMER:            I think it's the -- it's probably
           25        the physical damage and PR allocation.


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                                                                JILL CRONAUER
                                                                  9/30/2021


                                                                                                       Page 101
             1                 A.        Yes.
             2                 Q.        And so what were the terms of the settlement with
             3       The Riveter?
             4                 A.        That they could leave their lease early and we
             5       would let them out of their lease even though they owed
             6       this amount at the time of writing it off.
             7                 Q.        And was it your understanding that The Riveter
             8       vacated space due to the impact of CHOP?
             9                 A.        To some extent, yes, I think --
           10                  Q.        Okay --
           11                  A.        Yeah, I think this is where, you know, initially,
           12        similar to some of our other -- our other tenants, there
           13        was a COVID initial impact because they couldn't be open,
           14        like we've discussed; and then in June when they could
           15        access their premise, this building was entirely blocked,
           16        and The Riveter -- I don't know if you're familiar with how
           17        it functions, but the purpose of this location and this
           18        lease is not for their employees, but rather people come in
           19        and access the space for use, and they couldn't access the
           20        space for use, and it was deemed unsafe.
           21                  Q.        Okay.            And when was it first deemed to be unsafe?
           22                  A.        I don't recall.
           23                  Q.        Do you recall when it was once again deemed to be
           24        safe?
           25                  A.        They left, and we allowed them to leave before


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                                                                                                       Page 178
             1                           And so this is just demonstrating that, you know,
             2       if we had a couple months or even one month of no rental
             3       income, that we would be out of covenant, that it's
             4       actually on an annual cumulative basis.                         Yeah, there's all
             5       sorts of ideas at this point on how to handle COVID.
             6                 Q.        Undoubtedly.            All right.     Just a couple more, if
             7       you would bear with me.                      If you could please turn to
             8       Tab M2, as in Michael, 2.
             9                                                    (Exhibit No. 80 marked for
           10                                                     identification.)
           11                  A.        I have it in front of me.
           12        BY MR. FARMER:
           13                  Q.        And can you identify Exhibit 80 as a letter that
           14        you received from Amy Nelson of the Riveter?
           15                  A.        Correct.
           16                  Q.        And does this letter refresh your recollection
           17        that the Riveter was severely impacted by COVID-19?
           18                  A.        I think we discussed that because of their
           19        business model, their inability to have people come in when
           20        it was a shutdown because they weren't allowed to for two
           21        months, was impactful.                      Yeah, I don't recall the letter,
           22        though, actually.
           23                  Q.        Okay.            If you look down in the last full
           24        paragraph that begins with "Nonetheless," three or four
           25        sentences into that she writes:                        "Alternatively, we propose


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                                Case 2:20-cv-00983-TSZ Document 75-14 Filed 02/07/22 Page 6 of 8
                                                                                   JILL CRONAUER
                                                                                     9/30/2021

                                                                                Page 185
             1                      SIGNATURE
             2
             3            I declare that I have read my within deposition,
             4     taken on Thursday, September 30, 2021, and the same is true
             5     and correct save and except for changes and/or corrections,
             6     if any, as indicated by me on the "CORRECTIONS" flyleaf
             7     page hereof.
             8            Signed in ______________________, Washington,
             9     this _________ day of ____________________, 2021.
            10
            11
            12
            13
            14                        ___________________________
            15                        JILL CRONAUER
            16
            17
            18
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            23
            24
            25


                                                                                Page 186
            1               REPORTER'S CERTIFICATE
            2
            3      I, Mindy L. Suurs, the undersigned Certified Court
                 Reporter, pursuant to RCW 5.28.010, authorized to
            4    administer oaths and affirmations in and for the State of
                 Washington, do hereby certify:
            5
            6       That the foregoing testimony of JILL CRONAUER
                 was given before me at the time and place stated therein
            7    and thereafter was transcribed under my direction;
            8       That the sworn testimony and/or proceedings were by me
                 stenographically recorded and transcribed under my
            9    supervision, to the best of my ability;
           10       That the foregoing transcript contains a full, true,
                 and accurate record of all the sworn testimony and/or
           11    proceedings given and occurring at the time and place
                 stated in the transcript;
           12
                    That the witness, before examination, was by me duly
           13    sworn to testify the truth, the whole truth, and nothing
                 but the truth;
           14
                    That I am not a relative, employee, attorney, or
           15    counsel of any party to this action or relative or employee
                 of any such attorney or counsel and that I am not
           16    financially interested in the said action or the outcome
                 thereof;
           17
           18    DATE: October 3, 2021
           19
           20
           21
           22
           23                  __________________________________
           24                  Mindy L. Suurs
                               Certified Court Reporter #2195
           25



                                                                                                         47 (Pages 185 to 186)
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                       Rough
                         Sk Associates
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                               COURT       REPORTERS



                         206.682.1427   fax 206.937.6236


        Please record any changes or corrections on this sheet, indicating page number,
line number, and reason for the change.

Page     Line                             Correction and Reason
9        7                                Should read ‘500’ instead of ‘900°
9        22                               Should read ‘Kei’ instead of ‘Key
12       3                                Should read      ‘J’ instead of ‘Jim’
12       4                                Should read      ‘Kieran Oaksmith’ instead of ‘Karen
                                          Malone’
12       4                                Should read      ‘Cristin’ instead of ‘Kristen’
18       2                                Should read      ‘small business loan’ instead of NSBA
                                          loan’
70       17                               Should read      ‘and’ instead of ‘in’
109      19                               Should read      ‘Amaan’ instead of ‘Ahman’
122      15                               Should read ‘Paparepas’ instead of ‘Papa Repas’
177      16                               Should read ‘for your mortgage’ instead of ‘and
                                          your rent’




    al        (anni
(epature here and on deposition)
                           Case 2:20-cv-00983-TSZ Document 75-14 Filed 02/07/22 Page 8 of 8

                                                                        JILL CRONAUER
                                                                           9/30/2021


                                                                                                                                      Page      185

              1                                                 SIGNATURE



              3                              I    declare       that     I    have       read     my    within         deposition,

             4        taken        on    Thursday,             September           30,    2021,        and       the   same      is    true

              5       and     correct             save    and    except        for       changes        and/or         corrections,

              6       if    any,        as       indicated       by     me    on    the    "CORRECTIONS"                flyleaf

              7      page       hereof.

              8                              Signed       in      Juti                                       ,    Washington,

              9       this         |                 day of           Novo         ber                       , 2021.
            10

            11

            12

            13

            14                                                           bo        (pana
            15                                                        iY       CRONAUER

            le

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